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 2   District of Nevada
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 6   Attorneys for the United States.
 7                                UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9   UNITED STATES OF AMERICA,                      )
                                                    )       Case No. 2:10-cr-00287-GMN-VCF
10                   Plaintiff,                     )
                                                    )       JOINT MOTION VACATING
11            v.                                    )       JUDGMENT DEBTOR EXAMINATION
                                                    )       OF DEFENDANT JASON KELLOW
12   JASON KELLOW,                                  )       SCHEDULED FOR OCTOBER 11, 2017
                                                    )
13                   Defendant.                     )
                                                    )
14

15           The United States of America and Defendant Jason Kellow, through their undersigned

16   counsel, jointly move for an order vacating the Judgement Debtor Examination currently

17   scheduled for October 11, 2017. See ECF No. 341. The parties have conferred and believe they

18   can resolve this matter without a formal debtor examination at this time.

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 1          Neither party waives any rights or remedies that may be available regarding collection
 2   on the underlying judgment, including, but not limited to, requesting additional court-ordered
 3   debtor examinations if necessary.
 4          Respectfully submitted this 12th day of September 2017.
 5   STEVEN W. MYHRE                                             SHAWN R. PEREZ
     Acting United States Attorney                               Law Office of Shawn R. Perez
 6
                                                                 Shawn R.         Digitally signed by Shawn R. Perez
                                                                                  DN: cn=Shawn R. Perez, o=Law
                                                                                  Office of Shawn R. Perez, ou,
 7
     /s/ Mark E. Woolf                                           Perez            email=shawn711@msn.com, c=US
                                                                                  Date: 2017.09.12 11:30:25 -07'00'
                                                                 __________________________
 8   MARK E. WOOLF                                               Shawn R. Perez
     Assistant United States Attorney                            Counsel for Defendant
 9

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12                                                IT IS SO ORDERED:
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14                                                _______________________________
                                                  Cam Ferenbach
15                                                United States Magistrate Judge
16                                                         9/13/2017
                                                  Dated: __________________________
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